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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                              CASE NO. 1:17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING
  S.A., AND WEBZILLA, INC.,

             Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

             Defendants.
                                       /

        DEFENDANTS’ MEMORANDUM OF LAW REGARDING THE REPORTER’S
              PRIVILEGE REQUESTED BY JUDGE O’SULLIVAN
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         Defendants BuzzFeed, Inc. (“BuzzFeed”) and Ben Smith respectfully submit this
  memorandum of law regarding their assertion of the reporter’s privilege in response to the motion
  made by Plaintiffs to compel them to disclose the identity of the confidential source (“the Source”)
  who provided Defendants with a copy of the dossier (the “Dossier”) at issue in this case.

                                   PRELIMINARY STATEMENT

         The issue presented by Plaintiffs’ request to compel Defendants to disclose a confidential
  source is serious, and stark. Plaintiffs demand that this Court order Defendants to violate a promise
  of confidentiality to a source, an act that for any journalist would constitute the ultimate breach of
  his or her professional ethics and sense of duty. Yet Plaintiffs have made this extraordinary
  demand by invoking what are essentially phantom claims about their purported need for this
  information, and without having made even the slightest effort to explore any alternatives. Under
  any version of the reporter’s privilege to protect confidential sources, the balance here decidedly
  tips in Defendants’ favor.
         Specifically, this Court should deny Plaintiffs’ request to compel Defendants to identify
  the Source, because both the law of the forum (Florida) and the law of the state with the greatest
  connection to BuzzFeed’s communications with the Source (New York) protect Defendants’ right
  to withhold the identity of the Source, as does the First Amendment reporter’s privilege recognized
  by the Eleventh Circuit. However, if the Court were to find that the qualified reporter’s privilege
  recognized by both Florida law and the First Amendment does not protect this information, then it
  must proceed to conduct a choice-of-law analysis because the State that has by far the most
  significant connection to BuzzFeed’s newsgathering, including its communications with the
  Source, is New York.         New York provides an absolute privilege for confidential source
  information, and in the circumstances of this case Florida’s choice-of-law rules would require the
  application of New York privilege law in the event of any conflict.
         Moreover, Defendants have not waived the right to invoke the reporter’s privilege, for
  either of two reasons. First, Defendants are not seeking to use the identity of the Source as a
  “sword.” Defendants have never contended that any of their affirmative defenses is predicated on
  who the Source is, and Plaintiffs’ claim that the fair report privilege defense turns on whether the
  Source is a government official is flatly wrong, as a matter of law. Second, in any event it is well-
  settled in both Florida and New York that a court may not, as a matter of law, compel the defendant

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  in a libel case to identify a confidential source based on the “sword and shield” doctrine.

                                    FACTUAL BACKGROUND

  A.     BuzzFeed Obtains the Dossier
         This litigation arises out of BuzzFeed’s publication of an article entitled “These Reports
  Allege Trump Has Deep Ties to Russia” (the “Article”) and embedded Dossier on January 10,
  2017. See Ex. 1 (“Compl.”) ¶¶ 23-26. The Dossier consists of a series of memoranda written
  between June and December 2016 by a private British intelligence company founded by
  Christopher Steele, a former British government intelligence officer. BuzzFeed News is a news
  organization that publishes news on the internet. Ken Bensinger, a BuzzFeed News reporter with
  20 years’ experience, obtained the Dossier from the Source in December 2016. Ex. 2 (Declaration
  of Ken Bensinger executed October 16, 2017) (“Bensinger Oct. Decl.”) ¶ 9. Mr. Bensinger
  promised the Source that BuzzFeed would keep his or her identity confidential.
  B.      Government Action Concerning the Dossier
         By the time BuzzFeed published the Article on January 10, 2017, the Dossier had become
  the subject of substantial official activity. For example, as the Article notes, during the 2016
  election campaign then-Senate Minority Leader Harry Reid publicly released two letters he wrote
  to then-FBI Director James Comey, which asked the FBI to make public information about alleged
  Russian collaboration with the Trump campaign. Exs. 3-4. Those letters relied on Reid’s review
  of the Dossier. Ex. 5. In November 2016, a former British diplomat made Senator John McCain
  aware of the Dossier. Senator McCain subsequently reviewed it and delivered it to the FBI. Ex.
  6. According to multiple news reports, the FBI had obtained the Dossier much earlier directly
  from its authors, and continued to investigate it as it was updated. Ex. 7.
  C.     The Publication of BuzzFeed’s Article with the Dossier
         On January 10, 2017, CNN reported that a two-page synopsis of the Dossier had been given
  to President Obama and President-elect Trump, and that both had been briefed on its contents. Ex.
  8.   CNN also reported that the FBI was investigating the Dossier’s allegations. Id. Shortly
  thereafter, BuzzFeed published the Article with the embedded Dossier.
         The Article explained that the memos in the Dossier had been “circulating among elected
  officials, intelligence agents, and journalists for weeks.” Compl., Ex. 2 at 1-2. The Article
  summarized what had been reported about official use of the Dossier up to that point, including by

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  hyperlinking to the CNN and Mother Jones reports: the Dossier’s use in briefing the President and
  President-elect, the actions by Senators Reid and McCain, and an FBI investigation into its content.
  Id. The Article also explained who the author of the Dossier was, noting that “the document was
  prepared for political opponents of Trump by a person who is understood to be a former British
  intelligence agent”, and the news reports the Article linked to include an interview with that agent
  (who was almost immediately publicly identified as Christopher Steele). The Article never
  mentioned, or in any way purported to rely on, who had given BuzzFeed access to the actual
  physical document itself.
  D.     This Action
         In the Complaint, Plaintiffs allege claims for defamation based on a paragraph on the last
  page of the Dossier, which reads in relevant part:
         EDACTED reported that over the period March-September 2016 a company called
         XBT/Webzilla and its affiliates had been using botnets and porn traffic to transmit
         viruses, plant bugs, steal data and conduct “altering operations” against the
         Democratic Party leadership. Entities liked to one Aleksei GUBAROV were
         involved and he and another hacking expert, both recruited under duress by the
         FSB, Seva KAPSUGOVICH, were significant players in this operation….
         Compl. ¶ 26 and Ex. 3 at 35 (redaction and capital letters in original).
         Defendants’ Amended Answer pleads a number of affirmative defenses, including the
  Second Affirmative Defense, which asserts:
         Defendants’ publication of the allegedly defamatory statements in the Dossier,
         within the context of the Article, is protected by the fair report privilege pursuant
         to New York Civil Rights Law § 74 and/or the New York state constitution. In the
         alternative, Defendants’ publication of the allegedly defamatory statements is
         protected by the fair report privilege pursuant to Florida common law and/or the
         Florida constitution, or Texas law pursuant to Tex. Civ. Prac. & Rem. Code §
         73.002(b)(1) and the Texas constitution.
         See Ex. 9, Second Affirmative Defense. In addition, it bears mentioning that BuzzFeed
  was also sued for defamation based on the publication of the same Article and Dossier in New
  York State court in the matter Fridman, et al. v. BuzzFeed, et al., Index No. 154895/2017 (N.Y.
  Sup. Ct., filed May 26, 2017), and filed an Amended Answer in that case asserting the same fair
  report privilege affirmative defense. Ex. 10, Second Defense. The Amended Answer in the
  Fridman case pleads in more detail both the facts and the legal elements that Defendants allege



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  substantiate their privilege defense.1 Importantly, nowhere in the affirmative defenses pled in
  either case do Defendants allege anything at all about how or from whom they obtained the
  Dossier, let alone plead that the identity, employment status, or reliability of the Source is a fact
  upon which they rely to establish any of their defenses.
  E.     The London Action
         In addition to filing this lawsuit, most of the same Plaintiffs filed a companion defamation
  lawsuit in the United Kingdom against Christopher Steele (the Dossier’s author) and Mr. Steele’s
  private investigative company. Ex. 12. That case has already produced some discovery, in which
  Mr. Steele explained in detail his knowledge regarding some of the ways in which the Dossier was
  transmitted from specific persons in the United Kingdom to specific individuals in the United
  States. Ex. 13. Nonetheless, as detailed below, Plaintiffs have yet to depose, or for the most part
  make any meaningful efforts to depose, anyone based on the information they have learned in their
  English lawsuit.
  F.     Discovery in this Action to Date
         After Defendants answered the Complaint, Plaintiffs served Interrogatories and Document
  Requests. Where relevant, Defendants objected to the requests and interrogatories to the extent
  that they sought the identity of any confidential source, and (for purposes relevant here) invoked
  the reporter’s privilege provided by Florida and New York statutory and common law, as well as
  the First Amendment. See Ex. 14, Responses 1-4, 25-46, 48-52, and 57; Ex. 15, Responses 2-12,




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            The differences in Defendants’ pleadings in their Amended Answers filed in this and the
  Fridman case are purely the product of different tactical approaches taken by the respective
  counsel for the plaintiffs in those cases, not any differences in the substance of the fair report
  privilege affirmative defense. In this case, after Defendants filed their original Answer, to the
  credit of Plaintiffs’ counsel he informally raised several objections to how the affirmative defenses
  were pled and threatened to file a motion to strike if those objections were not satisfied. The
  Parties then negotiated mutually-acceptable changes to the pleadings to avoid motion practice,
  which are reflected in Defendants’ Amended Answer. By contrast, in the Fridman case, the
  plaintiffs filed a motion to dismiss several affirmative defenses, including the fair and true report
  defense, without attempting to first meet and confer. The parties’ counsel then met and conferred,
  and ultimately agreed that Defendants would file an Amended Answer and the Fridman plaintiffs
  would withdraw their motion to dismiss, without prejudice to their right to file a new motion to
  dismiss directed at the Amended Answer in that case. See Ex. 11.
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  15, 17, 24-25.2 At the September 28 hearing before this Court (the “September 28 Hearing”),
  Plaintiffs’ counsel stated that the only source-related information Plaintiffs are seeking to compel
  is the identity of the Source – or, as Plaintiffs’ counsel put it, “[w]here did BuzzFeed get the
  dossier?” Ex. 16 (“Sept. 28 Tr.”) at 6.
         To date, Plaintiffs have not taken any non-party depositions that might yield any
  information about the identity of the Source. In fact, for whatever strategic reasons Plaintiffs have
  not taken steps even readily available to them. For example, on August 10, 2017, Plaintiffs’
  counsel obtained from Judge Ungaro an executed copy of a Letter of Request to depose
  Christopher Steele in London. ECF No. 54. But as of the last status conference in this case, held
  on September 29 (the “September 29 Conference”), Plaintiffs had not taken any steps to try to set
  that deposition. See Ex. 17 (“September 29 Tr.”) at 3-4.
         Moreover, it has been widely reported, and confirmed by various government officials, that
  the FBI and several intelligence agencies had obtained the Dossier long before BuzzFeed published
  it. See, e.g., Exs. 2-7, 18. As a result, on June 28, 2017, Defendants issued subpoenas to various
  government agencies to provide testimony confirming the various official actions they took with
  the Dossier. On September 27, 2017, Defendants filed a motion to compel certain limited
  categories of testimony, which is pending in the United States District Court for the District of
  Columbia. See BuzzFeed, Inc. v. Dep’t of Justice, Case No. 1:17-mc-02429-APM (D.D.C.), ECF
  No. 1. Yet Plaintiffs have never sought any documents or testimony from the Government to
  determine whether a government official was the source of any leak to the news media, including
  to Defendants.
         The only non-party Plaintiffs have subpoenaed to date is Fusion GPS, which had originally
  commissioned Mr. Steele to prepare the Dossier. Fusion has moved to quash the subpoena, and
  that dispute is likewise pending in the United States District Court for the District of Columbia.
  See In re Third Party Subpoena to Fusion GPS, Case No. 1:17-mc-02171-TSC (D.D.C.).
  G.     The September 28 Hearing Before this Court
         At the September 28 Hearing, Plaintiffs’ counsel stated that they wanted the identity of the

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           As the Court ordered following the September 28 Hearing, Defendants have since served
  revised objections and responses to Plaintiffs’ discovery requests, which removed the reporter’s
  privilege objection to all requests for which it was not relevant and thus did not result in any
  documents being redacted or withheld on that basis.
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  Source for two reasons.
         First, counsel said that Plaintiffs want to know what, if anything, the Source may have told
  BuzzFeed about the Dossier. Counsel offered multiple, speculative hypotheticals about what the
  Source might have said, starting with whether the Source told BuzzFeed that the dossier was
  unverified. Id. at 7.3 Second, counsel argued that they were entitled to know the identity of the
  Source because, he asserted, Defendants were relying on the identity of the Source to invoke the
  fair and true report defense. Notably, counsel never pointed to a single representation in this case
  (or the Fridman case) in which Defendants have ever asserted that they are relying on the Source’s
  identity to invoke that defense, or any other. Instead, counsel claimed that the fair report privilege
  applies only to “reports of information received from government officials or contained in official
  government documents,” id. at 8, and thus speculated that Defendants must be relying on some
  unspecified assertion that the Source was a government official in order to establish that privilege.
  Based on the same reasoning, counsel contended that Defendants are trying to use the reporter’s
  privilege as both a sword and a shield, and have thus waived it. Id. at 12-13.
         Plaintiffs also acknowledged that there were only a “limited number of parties that were
  actually given a copy of the dossier” who could have served as the Source. Id. at 7. Indeed,
  Plaintiff’s counsel went so far as to name some possibilities – including by way of example James
  Comey, Christopher Steele and John McCain. Id. at 32 and 42. Nonetheless, Plaintiffs’ counsel
  conceded that he had not made any efforts to depose any of those potential sources, but claimed
  that he had no obligation to do so. Id. at 33. The only effort that counsel contended he had made
  to learn the identity of the Source was to informally ask Fusion GPS’s counsel if Fusion was the
  Source, and he said the answer was no. Id. at 8-9.

                                             ARGUMENT

         This Court should deny Plaintiffs’ request to compel Defendants to identify the Source
  because that information is privileged under the laws of both New York and Florida.
  A.     There Is No Conflict of Laws Because The Source Is Protected Against Compelled
         Disclosure By The Reporter’s Privilege Under Both Florida And New York Law, As



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           In response to that hypothetical, the Court remarked “Didn't they say that it was
  unverified in the article?” Sept. 28 Tr. at 7.
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             Well As The First Amendment
             While the parties disagree on which State’s law should, in the abstract, apply to
  Defendants’ assertion of privilege, Defendants do not believe it is necessary for this Court to apply
  Florida’s choice-of-law rules to conduct a full-blown conflicts analysis.4 That is because the first
  step in that analysis is to determine whether there is actually a conflict between the respective laws
  that the parties maintain should apply here. “[I]f no conflict exists between two bodies of law the
  court does not need to make a choice of law determination.” AIG Premier Ins. Co. v. RLI Ins. Co.,
  812 F. Supp. 2d 1315, 1321 (M.D. Fla. 2011); see also Howard v. Antilla, 191 F.R.D. 39, 43
  (D.N.H. 1999) (no need to conduct conflict of laws analysis between New York and New
  Hampshire reporter’s privileges where “both states’ privilege rules protect Antilla’s confidential
  sources from discovery”). And here, no conflict exists because while the tests applied by Florida
  and New York may differ, the identity of the Source is protected from compelled disclosure under
  either state’s law.
             1.     The Confidential Source Information is Privileged Under Florida Law
                    A. The Florida Reporter’s Privilege
             The reporter’s privilege for protecting the identity of confidential sources is so important
  to the public policy of Florida that there are actually three independent bodies of law recognizing
  that privilege: Florida common law, the Florida Shield Law enacted by the Legislature, and the
  First Amendment as applied by both the Eleventh Circuit and Florida courts.
             i)     The Common Law Privilege: The Florida Supreme Court first recognized the
  existence of a qualified reporter’s privilege grounded in the First Amendment to the United States
  Constitution more than 40 years ago in Morgan v. State, 337 So. 2d 951 (Fla. 1976). See also
  Gadsden Cty. Times, Inc. v. Horne, 426 So. 2d 1234, 1240 (1st DCA 1983).                   The Court
  subsequently clarified that the privilege is recognized by Florida common law as well. State v.
  Davis, 720 So. 2d 220, 225 (Fla. 1998); Tribune Co. v. Huffstetler, 489 So. 2d 722, 723-24 (Fla.
  1986). The privilege protects a journalist’s newsgathering information unless the subpoenaing
  party shows that 1) the information sought is relevant to the specific issues in the case, 2) the



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           Plaintiffs maintain that Florida law applies, while Defendants maintain that if any
  conflict exists, New York law applies.

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  information cannot be obtained by alternative means, and 3) there is a compelling interest in
  disclosure. See Davis, 720 So. 2d at 224.
         ii)     The Florida Shield Law: In 1998 the Florida Legislature also adopted a statutory
  privilege, which provides in relevant part,
         (1) DEFINITIONS.--For purposes of this section, the term:
         (a) “Professional journalist” means a person regularly engaged in collecting,
         photographing, recording, writing, editing, reporting, or publishing news, for gain
         or livelihood, who obtained the information sought while working as a salaried
         employee of, or independent contractor for, a newspaper, news journal, news
         agency, press association, wire service, radio or television station, network, or news
         magazine. Book authors and others who are not professional journalists, as defined
         in this paragraph, are not included in the provisions of this section.
         (b) “News” means information of public concern relating to local, statewide,
         national, or worldwide issues or events.
         (2) PRIVILEGE.--A professional journalist has a qualified privilege not to be a
         witness concerning, and not to disclose the information, including the identity of
         any source, that the professional journalist has obtained while actively gathering
         news. This privilege applies only to information or eyewitness observations
         obtained within the normal scope of employment and does not apply to physical
         evidence, eyewitness observations, or visual or audio recording of crimes. A party
         seeking to overcome this privilege must make a clear and specific showing that:
         (a) The information is relevant and material to unresolved issues that have been
         raised in the proceeding for which the information is sought;
         (b) The information cannot be obtained from alternative sources; and
         (c) A compelling interest exists for requiring disclosure of the information.
         (3) DISCLOSURE.--A court shall order disclosure pursuant to subsection (2) only
         of that portion of the information for which the showing under subsection (2) has
         been made and shall support such order with clear and specific findings made after
         a hearing.
  Fl. Stat. § 90.5015.

         iii)    The First Amendment Privilege: In addition, the Eleventh Circuit recognizes a
  privilege grounded in the First Amendment that may only be pierced if the party seeking the
  reporter’s confidential source presents: “substantial evidence[:][1] that the challenged statement
  was published and is both factually untrue and defamatory; [2] that reasonable efforts to discover
  the information from alternative sources have been made and that no other reasonable source is
  available; and [3] that knowledge of the identity of the informant is necessary to proper preparation

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  and presentation of the case.” Miller v. Transamerican Press, Inc., 628 F.2d 931, 932 (5th Cir.
  1980) (per curiam) (“Miller II”); accord Price v. Time, Inc., 416 F.3d 1327 (11th Cir. 2005); United
  States v. Caporale, 806 F.2d 1487, 1504 (11th Cir. 1986).
                 B)      Defendants Are Entitled To Invoke The Reporter’s Privilege
         There can be no reasonable dispute that Defendants are entitled to invoke the Shield Law,
  as well as the common-law and constitutional privileges. Florida courts have already determined
  that the Shield Law applies to internet-based entities, as long that they report news. TheStreet.com,
  Inc. v. Carroll, 20 So. 3d 947 (4th DCA 2009) (per curiam); see also Carroll v. TheStreet.com,
  Inc., 2014 WL 5474048, at *6 (S.D. Fla. Apr. 10, 2014). There can be no dispute that BuzzFeed
  News publishes “information of public concern relating to local, statewide, national, or worldwide
  issues or events,” see Bensinger Oct. Decl. ¶¶ 2-3, which is how the Shield Law defines “news,”
  and that the Article and Dossier at issue here are clearly “news.” Fl. Stat. § 90.5015(1)(b).
  Likewise, Mr. Bensinger, who last year won a National Magazine Award for his work at BuzzFeed
  News and has been a finalist for the Pulitzer Prize, is plainly a “professional journalist” employed
  by BuzzFeed News. Id. § 90.5015(1)(a); see Bensinger Oct. Decl. ¶¶ 4-6. Both the First
  Amendment and common-law privileges also apply to “reporters,” see Price, 416 F.3d at 1343;
  Davis, 720 So. 2d at 227, so they are properly invoked as well.
         Once the privilege is properly invoked, the burden then shifts to the Plaintiffs to prove that
  they are entitled to overcome the qualified privilege. Plaintiffs bear a “heavy burden” to overcome
  these privileges. McCarty v. Bankers Ins. Co., 195 F.R.D. 39, 47 (N.D. Fla. 1998). To overcome
  the statutory privilege Plaintiffs must make a “clear and specific showing” that they have overcome
  all elements of the three-part test, Fl. Stat. § 90.5015(2), and for purposes of the First Amendment
  privilege must present “substantial evidence.” Miller II, 628 F.2d at 932. Importantly, mere
  speculation cannot suffice to overcome the reporter’s privilege. Smoliak v. Greyhound Lines, Inc.,
  2005 WL 3434742, at *3 (N.D. Fla. Oct. 17, 2005).
                 C.      Plaintiffs Cannot Overcome the Florida or First Amendment Reporter’s
                         Privileges
         While Defendants bear no burden to prove a negative – i.e., that Plaintiffs cannot meet their
  heavy burden of piercing the privilege – this Memorandum will summarize several reasons why
  Plaintiffs cannot likely do so in the circumstances of this case.
         i)      The Source’s Identity Has Not Been “Raised in the Proceeding.” First, it is

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  doubtful that Plaintiffs could even demonstrate that the Source is material to any “unresolved
  issues that have been raised in the proceeding,” the first prong of the Shield Law. Plaintiffs claim
  that they need to know the identity of the Source because Defendants have purportedly relied on
  it in invoking the fair and true report defense. But this dog of an argument simply will not hunt
  because Defendants have done no such thing. Defendants have never referenced or even alluded
  to the Source in asserting the fair report privilege, whether as pled in the original or the Amended
  Answer, or even for that matter in the Amended Answer in the Fridman case. See Ex. 8, Second
  Affirmative Defense; Ex. 9, Second Defense; Ex. 19, Third Affirmative Defense. Plaintiffs have
  simply created this rationale out of whole cloth.
         Rather than point to any actual reliance on the Source, Plaintiffs offer a convoluted
  argument whereby they posit that Defendants could only assert the fair and true report defense if
  they received the document from a government official, and so they speculate that Defendants
  must be intending to assert that the Source was a government official. Sept. 28 Tr. at 8. Not only
  have Defendants never made that assertion, but even at first blush the argument makes no sense.
  The whole point of invoking the reporter’s privilege is so that Defendants may avoid saying
  anything that would provide any clues about who the Source is. Thus, revealing information such
  as whether the Source is or is not a “government official” is precisely what Defendants are
  asserting they will not do by invoking the reporter’s privilege.
         In any event, Plaintiffs’ premise that the fair report privilege turns on whether a document
  is obtained from a government official is also simply incorrect. Rather, the fair and true report
  privilege “extends to ‘the report of any official proceeding, or any action taken by any officers or
  agency of the government of the United States, or of any State or of any of its subdivisions.’” OAO
  Alpha Bank v. Ctr. for Pub. Integrity, 387 F. Supp. 2d 20, 40 (D.D.C. 2005) (quoting Restatement
  (Second) of Torts § 611 cmt. d (1977)) (emphasis added). Thus, it is well-settled that under both
  New York and Florida law, the privilege applies regardless of who BuzzFeed received the Dossier
  from – or for that matter, whether BuzzFeed found it on a park bench – as long as the Dossier was
  the subject of government action. See Friedman v. Bloomberg L.P., 871 F.3d 185, 195 n.6 (2d
  Cir. 2017) (where statement in news article accurately summarized judicial proceeding, plaintiff
  was not entitled to discovery of its source because “how a reporter gathers his information
  concerning a judicial proceeding is immaterial provided his or her story is a fair and substantially
  accurate portrayal of the events in question.”) (citation omitted); Ortega v. Post-Newsweek
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  Stations, Fla., Inc., 510 So. 2d 972, 976 (3d DCA 1987) (“[T]he fact that a reporter gathers
  information of an official proceeding second-hand ‘is immaterial provided his story is a fair and
  substantially accurate portrayal of the events in question.’”) (citation omitted). In fact, courts have
  repeatedly confirmed that the privilege applies even if the “source” is not a person at all, but is
  merely another news article. See, e.g., Cholowsky v. Civiletti, 69 A.D.3d 110, 115 (N.Y. App. Div.
  2009) (“[T]he fact that the defendants derived information about the judicial proceedings from
  secondary sources did not mean that [the fair report privilege] was inapplicable.”); Adelson v.
  Harris, 973 F. Supp. 2d 467, 486 n.14 (S.D.N.Y. 2013), certifying question, 774 F.3d 803 (2d Cir.
  2014), answering certified question, --- P.3d ----, 2017 WL 4294562 (Nev. Sept. 27, 2017)
  (Nevada law); Hanish v. Westinghouse Broad. Co., 487 F. Supp. 397, 399 (E.D. Pa.
  1980); Simonson v. United Press Int’l, Inc., 500 F. Supp. 1261, 1264 (D. Wisc. 1980), aff’d on
  other grounds, 654 F.2d 478 (7th Cir. 1981).
         This point is perhaps most clearly illustrated by Howell v. Enterprise Publishing Co., a
  recent Massachusetts case involving newspaper reports about a town’s investigation into a local
  official based on information received from anonymous sources. 920 N.E.2d 1, 7-13 (Mass. 2010).
  Howell held that the fair report privilege applied because it was “of no moment” who the
  anonymous source was, as long as the newspaper’s reports accurately described the investigation.
  Id. at 19; see also id. at 18 (“[T]he privilege extends to reports of official actions based on
  information provided by nonofficial third-party sources.”). Accordingly, the identity of the Source
  is simply not an “issue that ha[s] been raised” in this case, which would be necessary to satisfy
  even the first prong of the Shield Law.
         ii)     Plaintiffs Cannot Make a Clear and Specific Showing that the Information Cannot
  Be Obtained From Alternative Sources. To satisfy the requirements of § 90.5015(2), or the First
  Amendment privilege, the party seeking disclosure must “show that he has exhausted all
  alternatives to compelling the testimony” of the reporter. McCarty v. Bankers Ins. Co., 195 F.R.D.
  39, 46-47 (1998); see also Redd v. U.S. Sugar Corp., 1993 WL 428667, at *2 (Fla. Cir. Ct. May
  27, 1993) (party seeking disclosure is required to “exhaust or make reasonable effort to exhaust
  non-media sources for the information sought”); Gadsden Cty. Times, 426 So. 2d at 1242
  (reversing lower court’s decision as “clearly erroneous” where lower court found that party seeking
  discovery was not required to “pursue other avenues in attempting to identify … confidential
  sources”).
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         Florida courts take this rule so seriously that they have required the party seeking disclosure
  to depose, or at lease interview, as many as 117 possible sources before moving to compel the
  identity of a confidential source. See, e.g., Overstreet v. Neighbor, 9 Media L. Rep. 2255, 2256
  (Fla. Cir. Ct. Sept. 13, 1983) (requiring exhaustion of at least 117 individuals to defeat common
  law privilege) (attached hereto as Ex. 20); Muhammad v. State, 132 So. 3d 176, 190 (Fla. 2013)
  (affirming lower court decision quashing subpoena on exhaustion grounds because “[t]here were
  twenty-eight witnesses to the Happ execution. Muhammad failed to explain why he could not
  discover the identity of even one of those witnesses.”); see also Price, 416 F.3d at 1346 (“Price
  has taken some depositions, but not enough” to meet the second prong of the First Amendment
  test). The test is not, therefore, whether it would be burdensome for the party seeking to compel
  disclosure to seek other sources, or whether that party believes the news organization could offer
  the most credible evidence; “[t]he test is simply whether other sources for the same information
  are available.” Florida v. Abreu, 16 Med. L. Rep. 2493, 2494 (Fla. Cir. Ct. Oct. 31, 1989) (attached
  hereto as Ex. 21); see also Smoliak, 2005 WL 3434742, at *3 (requiring party seeking disclosure
  to “actually question[] the[] witnesses … to determine exactly what they know or whether they
  could identify” other possible sources). Moreover, the Eleventh Circuit has explicitly held that
  merely interviewing a potential source of knowledge is not enough; rather, actual sworn
  depositions are required to satisfy this prong of the First Amendment privilege. Price, 416 F.3d
  at 1347.
         Here, despite a wealth of information pointing to persons who might have knowledge about
  this information – evidence that Plaintiffs themselves discussed during the September 28 Hearing,
  Sept. 28 Tr. at 31-32 – Plaintiffs have made no credible effort to get evidence from these alternative
  sources. They cannot, therefore, make the clear and specific showing required to overcome the
  Shield Law or any version of the reporter’s privilege.
         This case is much like WTVJ-NBC 6 v. Shehadeh, 56 So. 3d 104 (3d DCA 2011). In that
  case, the plaintiff believed that his former employer, the City of Homestead, had leaked a CD of
  information to the local television network affiliate. Instead of seeking the CD in a freedom of
  information request or even seeking to depose city employees, the plaintiff sought the identity of
  the source from the television station. The Third District Court of Appeal held that the plaintiff
  had failed to demonstrate that the information was unavailable from other sources because he had
  failed to use the “array of discovery procedures available to determine” the identity of the leaker.
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  56 So. 3d at 106. The same holds true here.
         iii) There is No Compelling Need to Require Disclosure. Finally, Plaintiffs cannot
  demonstrate a compelling need to know the Source’s identity. This prong of the privilege is
  designed to balance the interest in disclosure against the strong public policy interest in protecting
  journalists. Gadsden, 426 So. 2d at 1242; Morgan, 337 So. 2d at 954. As a result, courts have
  routinely quashed subpoenas when the moving party cannot demonstrate the compelling necessity
  of the requested information. See McCarty, 195 F.R.D. at 47 (refusing to compel identity of source
  because “the relevancy is outweighed by the other factors and the compelling need to uphold the
  journalist’s privilege” is so great.); State v. Smith, 2001 WL 1750827, at *1 (Fla. Cir. Ct. Mar. 15,
  2001) (no compelling need for letter sent to newspaper).
         As previously discussed, the fact that Defendants have pled the fair report privilege defense
  presents no compelling need, because the Source’s identity is simply irrelevant to that defense.
  Moreover, the Eleventh Circuit has articulated a clear guideline for assessing compelling need in
  the context of a defamation lawsuit, which makes clear why there is no such need here.
  Specifically, a compelling need may be established where the “only source for the allegedly
  libelous comments is the [confidential] informant.” Miller v. Transamerican Press, Inc., 621 F.2d
  721, 726 (1980) (“Miller I”); see also Price, 416 F.3d at 1345 (“As the Miller Court explained,
  where the ‘only source for the allegedly libelous comments is the informant,’” a compelling need
  may be established.). But here the source of the allegedly defamatory statements is Mr. Steele,
  whose identity is already known (or, even more indirectly, one or more of Mr. Steele’s sources),
  not some “informant” of BuzzFeed’s. As a result, even if knowing the identity of the Source who
  simply conveyed the document might have some speculative relevance to Plaintiffs’ case, that
  would fall far short of what is necessary to clearly establish a “compelling need.”
         Finally, the fact that Plaintiffs have so utterly failed to seek alternative sources of
  information also negates a finding that they have a compelling need for it. Put simply, if this
  information was really so important, Plaintiffs could reasonably be expected to have tried much
  harder to obtain it. In Gadsden, for example, the First District Court of Appeal reversed an order
  compelling production of source information in a libel case because there were no facts in the
  record that demonstrated a compelling need and because the “fact that [the plaintiff] had failed to
  attempt to obtain the information from alternative sources would negate any such finding.” 426
  So. 2d at 1242; see also WTVJ-NBC-6, 56 So. 3d at 106 (plaintiff has shown “no compelling
                                            13
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  interest” in face of failure to seek discovery of third parties).
          For all these reasons, Plaintiffs cannot sustain their heavy burden to overcome the Shield
  Law, Florida common law, or the First Amendment reporter’s privilege. Under Florida law,
  therefore, Defendants cannot be compelled to identify the Source.
          2.      The Confidential Source Information is Privileged Under New York Law
          If, however, this Court were to conclude that Plaintiffs have sustained their burden under
  Florida law, then it would be required to conduct a choice-of-law analysis. That is because there
  is no question that under New York law Plaintiffs are absolutely precluded from compelling the
  disclosure of the Source’s identity, so a conflict would exist. The New York Shield Law provides
  in relevant part:
          Notwithstanding the provisions of any general or specific law to the contrary, no
          professional journalist … presently … employed or otherwise associated with any
          newspaper, magazine, news agency, press association, wire service, radio or
          television transmission station or network or other professional medium of
          communicating news or information to the public shall be adjudged in contempt by
          any court in connection with any civil or criminal proceeding, … for refusing or
          failing to disclose any news obtained or received in confidence or the identity of
          the source of such news coming into such person’s possession in the course of
          gathering or obtaining news for publication or to be published in a newspaper,
          magazine, … or for public dissemination by any other professional medium or
          agency which has as one of its main functions the dissemination of news to the
          public, by which such person is professionally employed or otherwise associated in
          a news gathering capacity ….
  N.Y. Civil Rights Law § 79-h(b). As New York’s highest court has held, “the statute grants an
  absolute privilege precluding reporters from being compelled to reveal the identity of confidential
  sources.” Holmes v. Winter, 22 N.Y.3d 300, 308 (2013); see also Sharon v. Time, Inc., 599 F.
  Supp. 538, 582 (S.D.N.Y. 1984) (Shield Law “may be asserted by press defendants in libel cases,”
  and gives defendant “right to withhold identifying details” about confidential sources in response
  to discovery); Sprewell v. NYP Holdings, Inc., 43 A.D.3d 16, 21 (N.Y. App. Div. 2007) (granting
  newspaper summary judgment in libel case based in part on information obtained from confidential
  source).
          Here, as discussed above, Bensinger is a professional journalist who works for a
  professional news organization. Bensinger Oct. Decl. ¶¶ 2-6. Bensinger also obtained the Dossier
  only after promising confidentiality to the Source. Id. ¶ 9. Under New York law, the identity of
  the Source is therefore absolutely privileged and Plaintiffs’ request to compel the Source must be
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  denied.
  B.        If New York and Florida Law Conflict, This Court Should Apply New York Law
            In determining which state privilege law to apply in the event of a conflict, the Court looks
  to the choice-of-law rules of the state in which it sits. Klaxon v. Stentor Elec. Mfg. Co., 313 U.S.
  487, 496 (1941); Michel v. NYP Holdings, Inc., 816 F.3d 686, 694 (11th Cir. 2016). Florida applies
  the approach of section 139 of the Restatement (Second) of Conflict of Laws (the “Restatement”)
  to choice of law questions involving privilege issues in tort cases. Anas v. Blecker, 141 F.R.D.
  530, 532 (M.D. Fla. 1992). The choice of law analysis for which state’s privilege law applies is
  distinct from the analysis governing the choice of substantive law, and so it is possible to reach
  different results on those questions in the same case. See, e.g., Indep. Petrochem. Corp. v. Aetna
  Cas. and Sur. Co., 117 F.R.D. 292, 296 (D.D.C. 1987).
            Section 139 provides, in relevant part, that:
            (2) Evidence that is privileged under the local law of the state which has the most
            significant relationship with the communication but which is not privileged under
            the local law of the forum will be admitted unless there is some special reason why
            the forum policy favoring admission should not be given effect.
  Thus, Section 139(2) provides that Florida law should be applied, unless New York has the most
  significant relationship with the communication and there are other reasons why its law should be
  preferred. In making that determination, the Restatement provides that “[a]mong the factors that
  the forum will consider in determining whether or not to admit the evidence are (1) the number
  and nature of the contacts that the state of the forum has with the parties and with the transaction
  involved, (2) the relative materiality of the evidence that is sought to be excluded, (3) the kind of
  privilege involved and (4) fairness to the parties.” Restatement § 139, cmt. d. This list is not
  exhaustive, however, and it is not a balancing test. Courts have recognized that even a single
  consideration may justify applying the foreign privilege. See, e.g., Anas, 141 F.R.D. at 532
  (finding “special reason” to apply Illinois law where applying Florida law would make the party
  resisting disclosure “subject … to the privilege laws of all fifty states”); Compuware Corp. v.
  Moody’s Inv’rs Servs., Inc., 222 F.R.D. 124, 133 (E.D. Mich. 2004) (finding “special reason” to
  apply New York Shield Law because “New York is the center of the financial publishing industry,
  and the New York companies who gave these materials to Moody’s, also a New York company,
  surely relied on the protections of New York law”). Applying this test here, it is clear that New
  York law should apply.
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         First, New York is the State with the most significant relationship to the Dossier. See
  Mazzella v. Philadelphia Newspapers, Inc., 479 F. Supp. 523, 527 (E.D.N.Y. 1979) (in defamation
  case, applying the reporter’s privilege of the State where “the events that led to the … article” in
  question took place, including the newsgathering). BuzzFeed’s investigation into the Dossier was
  organized and directed from BuzzFeed’s headquarters in New York by New York residents –
  BuzzFeed editor-in-chief Ben Smith and BuzzFeed News investigations editor Mark Schoofs.
  Bensinger Oct. Decl. ¶ 8. The decision to publish the Dossier was made by Smith in New York
  after discussing it with others at BuzzFeed’s headquarters, and the Article accompanying the
  Dossier was written and edited by Miriam Elder, Smith, and Schoofs in New York. Ex. 22
  (Declaration of Ben Smith executed March 9, 2017) (“Smith Decl.”) ¶¶ 3-4; Ex. 23 (Declaration
  of Mark Schoofs executed March 13, 2017) (“Schoofs Decl.”) ¶ 4; Ex. 24 (Declaration of Miriam
  Elder executed March 9, 2017) (“Elder Decl.”) ¶ 4. While Mr. Bensinger is not a New York
  resident, everything he did in connection with this story was as part of team based in New York.
  Bensinger Oct. Decl. ¶¶ 8-9.
         In contrast, there is simply no connection whatsoever between the Source’s
  communications with BuzzFeed and Florida. Smith, Schoofs, Elder, and Bensinger have all
  submitted sworn evidence that no part of the communications with the Source, the investigation
  into the Dossier, the decision to publish it, or the writing or editing of the Article (with the
  exception of the fortuitous fact that Bensinger happened to be on vacation at Disney World on the
  day of publication, and took some phone calls and reviewed a draft of the Article from there) took
  place in Florida. Bensinger Oct. Decl. ¶¶ 10-11; Smith Decl. ¶¶ 3-4; Schoofs Decl. ¶¶ 3-4; Elder
  Decl. ¶¶ 3-4; Ex. 25 (Declaration of Ken Bensinger executed March 13, 2017) ¶¶ 3-5. In addition,
  none of the BuzzFeed employees involved in obtaining the Dossier or publishing it have any
  meaningful connections to this State, and BuzzFeed itself has no physical presence or employees
  in Florida. Bensinger Oct. Decl. ¶ 7; Smith Decl. ¶ 2; Schoofs Decl. ¶ 1; Elder Decl. ¶ 1; Ex. 26
  (Declaration of Roy Cysner executed March 13, 2017) ¶¶ 3-5. Finally, Plaintiffs’ connections to
  this State, which are minimal to begin with,5 are simply irrelevant to the choice of law question


         5
           All Plaintiffs have ever alleged in that one of them, Webzilla, Inc., is incorporated here
  and has some virtual office space and one employee or independent contractor in this State. See
  ECF No. 21 at 4-5. But there is no dispute that Plaintiff XBT Holding S.A. is both incorporated
  and headquartered in Luxembourg, Plaintiff Aleksej Gubarev is a resident of Cyprus, and even
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  presented here because the Restatement looks to the state with the most significant relationship
  with “the communication.” Restatement § 139(2).
         Similarly, the four factors set forth in the Restatement favor New York law. First, as
  discussed supra, New York’s contacts with the publication of the Dossier are far more “numerous
  and important” than Florida’s. Id. at cmt. d. Second, the identity of the Source is of, at most,
  marginal relevance either to the defense or the prosecution of this action. The first two, very
  practical factors, thus clearly favor New York. As to the third factor, the kind of privilege at issue,
  the Restatement looks to whether the foreign privilege, though different, is “generally similar to”
  a privilege the forum also recognizes, and whether it is the kind of privilege that “is well
  established and recognized in many states.” Id. That factor clearly favors New York. For one
  thing, Florida also recognizes a strong reporter’s privilege, as does virtually every other state.
  More importantly, however, all three jurisdictions with any plausible connection to BuzzFeed’s
  investigation and publication of the Dossier – New York, California (Bensinger’s domicile), and
  the District of Columbia (the center of government action related to the Dossier that supports the
  fair and true report defense) – recognize an absolute privilege for confidential sources. See N.Y.
  Civil Rights Law § 79-h(b); Cal. Const., art. I, § 2(b); D.C. Code § 16-4702.
         The fourth factor, fairness to the parties, also strongly favors applying New York law. This
  factor primarily looks to whether the parties could reasonably have relied “on the fact that
  communications of the sort are treated in strict confidence in the state of the most significant
  relationship.” Restatement § 139(2), cmt. d. Here the communications had nothing to do with
  Plaintiffs, but Mr. Bensinger has sworn that he has often promised confidentiality to sources, has
  never had those promises called into question, and that it never occurred to him when he was
  communicating with the Source that his ability to honor that promise could be called into question
  by a court in Florida. Bensinger Oct. Decl. ¶¶ 12-13. Indeed, where one state has “superior
  contacts with the dispute,” the court may infer that the parties to the communication relied on its
  law. Harrisburg Auth. v. CIT Capital USA, Inc., 716 F. Supp. 2d 380, 393 n.19 (M.D. Pa. 2010);
  Equity Residential v. Kendall Risk Mgmt., Inc., 246 F.R.D. 557, 566 (N.D. Ill. 2007) (applying
  Connecticut attorney-client privilege law under Restatement because “[h]ad they sought guidance


  Webzilla, Inc. has its principal place of business in Texas. See ECF No. 15-1, Exs. 4 and 9; Sept.
  28 Tr. at 12.
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  on the scope of the privilege, all of the individuals involved in these communications would likely
  have consulted Connecticut law rather than Illinois law, to determine whether their discussions
  would be privileged”).
             In this way, this case is much like Mazzella. In that case, a New York plaintiff sued a
  Philadelphia newspaper in New York and the defendant invoked the Pennsylvania Shield Law.
  Even though the action was pending in New York, the court held that the Pennsylvania privilege
  law applied. 479 F. Supp. at 527. As the Court wrote, “although plaintiffs are New York citizens,
  defendants are citizens of Pennsylvania, and by Plaintiff’s admissions, circulate the Inquirer
  principally in the metropolitan area of Philadelphia … the events that led to the newspaper article,
  including the news gathering and confidential communications, apparently occurred in
  Pennsylvania.” Id.
             Similarly, in Compuware, the court held that, because the allegedly defamatory statement
  was published and distributed in New York, and “New York is the center of the financial
  publishing industry, and the New York companies who gave these materials to Moody’s, also a
  New York company, surely relied on the protections of New York law,” the New York Shield Law
  applied even though the case was brought in Michigan. 222 F.R.D. at 133. 6


         6
           Finally, while not dispositive either way, one additional factor that favors the application
  of the law of the state with the most significant relationship to the privilege issue is that it remains
  unsettled whether Florida law will even apply to this case at all. Nothing in Judge Ungaro’s May
  22, 2017 order denying Defendants’ motion to dismiss this case for lack of personal jurisdiction
  or transfer it to the Southern District of New York, ECF No. 27, precludes ultimately applying
  New York law to Plaintiffs’ defamation claims. Judge Ungaro simply wrote in the context of her
  transfer analysis that, at that preliminary stage, she did “not agree that Defendants have shown that
  New York law should apply to this defamation case.” Id. at 28. Judge Ungaro did not conduct a
  full choice of law analysis and certainly did not hold that Florida law applies or that Florida has a
  more significant connection to the case than did New York. Judge Ungaro confirmed this at the
  most recent status conference, stating that “there is this choice of law issue that’s kicking around,”
  which “pervades the [entire] case.” Sept. 29 Tr. at 8.
        Under the Restatement, the law that would typically apply to an internet defamation case
  would be either the domicile of an individual plaintiff, or the principal place of business of a
  corporate plaintiff. Restatement (Second) Conflict of Laws § 150 (2) & (3). Florida does not even
  make that list as a potential candidate, since the relevant jurisdictions would be Cyprus,
  Luxembourg, or Texas. Given the absence of any substantial connections to this or any other state
  by Plaintiffs, the factors the Restatement then points to are “(a) the state or states where the
  defendant did his act or acts of communication, such as assembling, printing and distributing a
  magazine or book and (b) the state or states of the defendant’s domicile, incorporation or
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          Finally, an additional “special factor” here is that the reporter’s privilege will also be raised
  by Defendants in the Fridman case if there is any discovery concerning the Source. The parties to
  that case agree that it is governed by New York law. Subjecting the same journalist-source
  communications to two different standards would be unfair to both Defendants and the Source,
  and would only illustrate the importance of ensuring that a news organization like BuzzFeed is not
  “subject … to the privilege laws of all fifty states” and “[t]he possibility of conflicting decisions
  in different states.” Anas, 141 F.R.D. at 532. In such circumstances, earning the confidence of
  sources who need confidentiality becomes impossible, and the public’s access to important
  information suffers. See, e.g., Miller I, 621 F.2d at 725 (“[F]orced disclosure of journalists’
  sources might deter informants from giving their stories to newsmen, except anonymously. This
  might cause the press to face the unwelcome alternatives of not publishing because of the inherent
  unreliability of anonymous tips, or publishing anonymous tips and becoming vulnerable to charges
  of recklessness.”); see also Bensinger Oct. Decl. ¶¶ 12-13.
         For all these reasons, to the extent that there is a conflict between New York and Florida
  law, this Court should apply New York’s absolute protection for confidential sources.
  C.     Defendants Have Not Waived The Privilege
          Finally, at the September 28 Hearing this Court asked Defendants to address Plaintiffs’
  argument that the reporter’s privilege was waived because Defendants were supposedly relying on
  information protected by the privilege – i.e., the identity of the Source – in asserting their defenses,
  thus allegedly using the privilege as both a sword and a shield. The unequivocal answer is no, for
  two reasons.
          First, for all the reasons previously stated, Defendants are not using the privilege as either
  a “sword” or a “shield” because none of their defenses turn on the Source’s identity. Plaintiffs



  organization and principal place of business.” Id. at cmt (e). Those factors obviously point to
  New York, as does the fact that since the motion to dismiss in this case, the Fridman case has been
  filed in New York under New York law. Applying Florida law here would mean different laws
  would be applied to the same publication, which would undermine the goals of uniformity and
  consistency. Of course, as with the privilege issue, there may be no need to engage in a choice-
  of-law analysis unless an actual conflict regarding substantive defamation law exists as between
  Florida and New York. Nonetheless, the fact that whether the law of the forum will apply at all
  may reasonably be disputed is yet another “special reason” to apply the privilege law of the state
  with the most significant relationship to the privilege issue, which is clearly New York.
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  have simply invented that contention. Second, even if Defendants were relying on the Source’s
  identity (which they are not), in both Florida and New York the “sword and shield” doctrine does
  not effect a waiver of the reporter’s privilege. In fact, at least in Florida it does not effect a waiver
  of any privilege in the context of affirmative defenses.
          In TheStreet.com, Inc. v. Carroll, 20 So. 3d 947, the Fourth District applied well-
  established Florida law that the sword-and-shield doctrine only applies to “claims or pleadings
  seeking affirmative relief”, and does not apply where “the discovery in dispute related to an
  affirmative defense.” Id. at 949. Moreover, with respect to the reporter’s privilege the Court
  further noted that even if a sword and shield problem were presented, “the proper remedy would
  be to dismiss or strike petitioners’ defenses [to which the confidential source information is
  necessary] and not to compel production of the very information claimed to be privileged.” Id.
          New York law is no different. The New York Court of Appeals has held that, while there
  might be other litigation consequences if a journalist relies on a confidential source in support of
  his or her defenses, divesting the journalist of the absolute protection provided by the Shield Law
  is not an option. Oak Beach Inn Corp. v. Babylon Beacon, 62 N.Y.2d 158, 166 (1984). Moreover,
  New York courts applying those principles have held that no adverse consequences may be
  warranted at all as long as the journalist is not exclusively relying on a single confidential source.
  See, e.g., Sprewell, 43 A.D.3d at 18-19; Bement v. N.Y.P. Holdings, Inc., 307 A.D.2d 86, 91 (N.Y.
  App. Div. 2003) (granting defendant summary judgment on actual malice grounds based on
  information received from confidential source).
          In short, there is no sword and shield issue presented here at all. But even if there were,
  that doctrine would need to be, at most, raised in connection with motion practice directed at the
  substantive claims and defenses in this case, not as part of this discovery dispute. Defendants
  therefore have not waived their right to invoke the reporter’s privilege.
                                             CONCLUSION
          Plaintiffs have not demonstrated a compelling need – or really any need – for the identity
  of the Source and have not made any efforts to obtain that information from a third party. Under
  any test, therefore, they have not overcome the reporter’s privilege. This Court should, therefore,
  deny the motion to compel.



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  Date: October 16, 2017

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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                    CASE NO. 1:17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING
  S.A., AND WEBZILLA, INC.,

                 Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

                 Defendants.
                                                /

                                   CERTIFICATE OF SERVICE

         I CERTIFY that on October 16, 2017, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically Notices of Electronic Filing.


                                                By: /s/ Jared Lopez
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